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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

TIFFANY JOLLIFF,

                    Plaintiff,                        Civil Action No. 1:16-CV-605 (GBL/IDD)
               v.

UBER TECHNOLOGIES, INC., and
RASIER, LLC, and
ALBERTINE DJEUMI COLE

                    Defendants.



                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, the parties stipulate

that this action is hereby dismissed in its entirety, with prejudice. Each party shall bear their own

costs and attorneys’ fees.

Dated: December 1, 2016                       Respectfully submitted,

                                              /s/ Barry I. Buchman________________________
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                                 CERTIFICATE OF SERVICE

I hereby certify that, on this 1st day of December, 2016, the undersigned electronically filed the
foregoing document and that notification of the filing will be electronically sent to the following:

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